                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                         CEDAR RAPIDS DIVISION



 SAVINO CAPUCHINO AGUILAR,
              Petitioner-Defendant,                   No. C 00-0149-LRR
                    vs.                               No. CR 98-0011-LRR
 UNITED STATES OF AMERICA,
                                                              ORDER
                Respondent-Plaintiff.
                              ____________________

      The matter before the court is Defendant Savino Capuchino Aguilar’s Motion for
Relief from Judgment or Order Pursuant to Rule 60(b) of the Federal Rules of Civil
Procedure and Declaration in Support (the “Motion”) (docket no. 431).
      On November 12, 1998, Defendant was convicted of five counts of violating the
federal Controlled Substances Act, 21 U.S.C. § 801 et seq. On January 22, 1999, the
court1 sentenced Defendant to an imprisonment term of life on Counts 1 through 3, and an
imprisonment term of 40 years on Counts 4 and 5, the terms to be run concurrently, to be
followed by 10 years of supervised release. Defendant was also ordered to pay a $500
special assessment and $7,100 restitution.
      On October 13, 1999, the Eighth Circuit Court of Appeals affirmed Defendant’s
judgment and conviction. United States v. Aguilar, No. 99-1237, 1999 U.S. App. LEXIS
25554, *1 (8th Cir. Oct. 13, 1999) (per curiam) (unpublished decision). Defendant did



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        The Honorable Michael J. Melloy presided over this criminal matter in the United
States District Court for the Northern District of Iowa through the denial of Defendant’s
habeas corpus relief on October 23, 2002. Judge Melloy has since been elevated to the
United States Court of Appeals for the Eighth Circuit.


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not file a petition for writ of certiorari with the United States Supreme Court. On
September 20, 2000, the Clerk of Court received Defendant’s timely petition pursuant to
28 U.S.C. § 2255 (“§ 2255”) challenging his sentence. On October 23, 2002, the court
ordered Defendant was entitled to no relief under § 2255. On March 28, 2003, Defendant
filed a motion for adjustment/correction of his sentence pursuant to 18 U.S.C. § 3582. On
October 24, 2003, the court denied such motion.
       On March 7, 2005, Defendant filed the Motion under consideration here. On
March 17, 2005, the government filed a resistance to Defendant’s Motion. On April 14,
2005, Defendant filed a reply to the government’s resistance. In his Motion, Defendant
moves the court pursuant to Rule 60(b) of the Federal Rules of Civil Procedure
(“Rule 60(b)”) to grant him relief from the court’s October 23, 2002 Judgment and Order
denying him any relief under § 2255. Defendant seeks to amend his previously filed
motions pursuant to § 2255 in light of the Supreme Court’s holdings in Blakely v.
Washington, 542 U.S. 296 (2004), and United States v. Booker, ___ U.S. ___, 125 S. Ct.
738 (2005). Defendant contends his sentence is illegal.
       A prisoner in custody under sentence of a federal court may move the sentencing
court to vacate, set aside or correct a sentence pursuant to § 2255 on the ground or
grounds he was convicted or sentenced in violation of federal law. 28 U.S.C. § 2255
para. 1. Any challenge to the legality of the sentence imposed must be brought under
§ 2255. Id. A defendant may only file a second or successive motion pursuant to § 2255
with the advance authorization of a United States court of appeals. Id. § 2255 para. 8; see
also 28 U.S.C. § 2244(b)(3).
       “It is well-established that inmates may not bypass the authorization requirement of
28 U.S.C. § 2244(b)(3) for filing a second or successive § 2254 or § 2255 action by
purporting to invoke some other procedure.” United States v. Lambros, 404 F.3d 1034,

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1036 (8th Cir. 2005) (per curiam), cert. denied, No. 04-10270, 2005 U.S. LEXIS 4976,
at *1 (June 20, 2005) (citing United States v. Patton, 309 F.3d 1093 (8th Cir. 2002) (per
curiam), and Boyd v. United States, 304 F.3d 813, 814 (8th Cir. 2002) (per curiam)). The
Eighth Circuit Court of Appeals specifically advised district courts to conduct “a brief
initial inquiry” into the allegations of the Rule 60(b) motion to determine if it is a second
or successive habeas petition. Boyd, 304 F.3d at 814. “If the district court determines the
Rule 60(b) motion is actually a second or successive habeas petition, the district court
should dismiss it for failure to obtain authorization from the Court of Appeals or, in its
discretion, may transfer the purported Rule 60(b) motion to the Court of Appeals.” Id.
       Defendant’s Motion contends his sentence violates federal law and does not contend,
for example, a defect in the habeas corpus proceeding. Cf. Gonzalez v. Crosby, No. 04-
6432, 2005 U.S. LEXIS 5014, *1, *15-16, *26 (June 23, 2005) (holding a defendant’s
motion pursuant to Rule 60(b) alleging a defect in habeas proceedings under 28 U.S.C.
§ 2244 is properly brought, while a defendant’s motion pursuant to Rule 60(b) to make a
successive habeas attack on a state court conviction is not properly brought). Therefore,
Rule 60(b) does not provide Defendant with a means by which he may challenge his
sentence because the relief he seeks is more properly brought as a second or successive
§ 2255 motion. Defendant did not obtain advance authorization from the Eighth Circuit
Court of Appeals to file this Motion, as required by federal law.
       Because Defendant’s arguments challenging his sentence are meritless, the court
declines Defendant’s request to transfer his Motion to the Eighth Circuit Court of Appeals.
The Eighth Circuit Court of Appeals has held that “the ‘new rule’ announced in Booker
does not apply to criminal convictions that became final before the rule was announced,
and thus does not benefit movants in collateral proceedings.” Never Misses a Shot v.
United States, ___ F.3d ___, No. 05-1233, 2005 U.S. App. LEXIS 13451, *6-7 (8th Cir.

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July 7, 2005) (per curiam). Defendant’s convictions became final for purposes of the
retroactivity of new constitutional rules on January 11, 2000, when the time for petitioning
the Supreme Court for a writ of certiorari had elapsed. See Sup. Ct. R. 13(1) (allowing
a criminal defendant ninety days from the date of the entry of judgment from the United
States court of appeals for filing a petition for a writ of certiorari); Griffith v. Kentucky,
479 U.S. 314, 321 n.6 (1987) (“By ‘final,’ we mean a case in which a judgment of
conviction has been rendered, the availability of appeal exhausted, and the time for a
petition for certiorari elapsed or a petition for certiorari finally denied.”). Defendant’s
convictions were final well before the Supreme Court issued its opinions in either Blakely
or Booker. Neither case, therefore, provides Defendant a basis for challenging his
sentence.
       For the reasons stated herein, the court DENIES Savino Capuchino Aguilar’s
Motion for Relief from Judgment or Order Pursuant to Rule 60(b) of the Federal Rules of
Civil Procedure and Declaration in Support (docket no. 431).
       IT IS SO ORDERED.


       DATED this 14th day of July, 2005.




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